            Case 2:19-cv-00510-RAJ-MLP Document 70 Filed 09/30/20 Page 1 of 2




 1                                                   THE HONORABLE MICHELLE L. PETERSON

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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8
     ROBERT ALBERT, an individual,
 9
                                                        NO. 2:19-cv-00510-RAJ-MLP
10                                      Plaintiff,
     vs.                                                ORDER GRANTING
11                                                      STIPULATED MOTION TO
   LABORATORY CORPORATION OF                            CONTINUE PRETRIAL DEADLINES
12 AMERICA, a Delaware Corporation,

13                                      Defendant.
14
             THIS MATTER, having come on regularly for hearing before the Court on the parties’
15
     stipulated motion to continue pretrial deadlines and the Court having considered the pleadings,
16
             IT IS HEREBY, ORDERED, ADJUDGED AND DECREED that the Stipulated Motion
17
     to Continue Pretrial Deadlines is GRANTED and pretrial deadlines are extended sixty (60) days
18
     as follows:
19                                        Event                                        Date
20 All motions related to discovery must be filed by this date and noted       December 24, 2020
   for consideration no later than the third Friday thereafter (see
21 LCR7(d))

22 Discovery to be completed by                                                 January 15, 2021
   All dispositive motions and motions to exclude expert testimony for          February 15, 2021
23
   failure to satisfy Daubert must be filed pursuant to LCR 7(d)
24 All motions in limine must be filed by this date and notes on the          To be set by the Court
   motion calendar no later than the second Friday after filing
25
   Agreed CR 16.1 Pretrial Order due                                          To be set by the Court
26
   Pretrial conference                                                        To be set by the Court
27

28   ORDER GRANTING STIPULATED MOTION TO CONTINUE
     CASE DEADLINES - 1                                             HKM EMPLOYMENT ATTORNEYS LLP
     (Case No. 2:19-cv-00510-RAJ-MLP)                                  600 Stewart Street, Suite 901
29                                                                      Seattle, Washington 98101
                                                                              (206) 838-2504
30
            Case 2:19-cv-00510-RAJ-MLP Document 70 Filed 09/30/20 Page 2 of 2




 1 Trial briefs, proposed voir dire, and jury instructions due             To be set by the Court
   Trial                                                                   To be set by the Court
 2

 3
             DATED this 30th day of September, 2020.
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 6                                                               A
                                                                MICHELLE L. PETERSON
 7
                                                         United States Magistrate Judge
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 9
     Presented by:
10

11    HKM EMPLOYMENT ATTORNEYS LLP                    SEBRIS BUSTO JAMES

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                                                      Attorneys for Defendant Laboratory
23                                                    Corporation of America

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28   ORDER GRANTING STIPULATED MOTION TO CONTINUE
     CASE DEADLINES - 2                                           HKM EMPLOYMENT ATTORNEYS LLP
     (Case No. 2:19-cv-00510-RAJ-MLP)                                600 Stewart Street, Suite 901
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